                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                                    Court Minutes and Order
HEARING DATE:  December 4, 2020
JUDGE:         Brett H. Ludwig
CASE NO.:      20-cv-1785-bhl
CASE NAME:     Trump v. The Wisconsin Elections Commission et al
MATTER:        Status/Scheduling Conference
APPEARANCES:   William Bock, III, Attorney for Plaintiff Donald J Trump
               Colin Roth, Attorney for Defendants The Wisconsin Elections
               Commission, Commissioner Ann S Jacobs, Commissioner Dean Knudson,
               Commissioner Marge Bostelmann, Mark L Thomsen, Robert F Spindell,
               Jr, and Douglas J La Follette
               Jeffrey A Mandell, Attorney for Defendant Governor Tony Evers
               Andrew A Jones, Attorney for Defendants George L Christenson and
               Julietta Henry
               James M Carroll, Attorney for Defendants Claire Woodall-Vogg, Mayor
               Tom Barrett, and Jim Owczarski
               Lindsay Mather, Attorney for Defendants Kris Teske and Eric Genrich
               Scott Letteney, Attorney for Defendants Mayor Cory Mason and Tara
               Coolidge
               Bryan Charbogian, Attorney for Defendants Mayor John Antaramian and
               Matt Krauter
               Michael P May, Attorney for Defendants Mayor Satya Rhodes-Conway,
               Maribeth Witzel-Behl, and Scott McDonell
               Joseph S Goode, Attorney for Proposed Intervenor-Defendants Wisconsin
               State Conference NAACP, Dorothy Harrell, Wendell J Harris, Sr, and
               Earnestine Moss
               Charles G Curtis, Jr, Attorney for Proposed Intervenor-Defendant
               Democratic National Committee
TIME:          1:26 p.m. – 2:50 p.m.
COURT REPORTER:        Susan A.
COURTROOM DEPUTY: Melissa P.


       The Court held a conference to discuss a schedule for this case with the parties given the
plaintiff’s request to expedite proceedings. Upon consideration of the parties’ opinions as to
how the case should proceed, the Court set a schedule. The Court also considered the plaintiff’s
motion to expedite discovery and took the motions to intervene under advisement. The Court
strongly encouraged defense counsel to coordinate their responses and strategy for the
evidentiary hearing. Accordingly,

       IT IS HEREBY ORDERED:
1. Plaintiff’s motion for expedited discovery, ECF No. 28, is GRANTED. Defendants shall
   respond to plaintiff’s requests for production and admission no later than 5:00 p.m. on
   Tuesday, December 8, 2020.

2. Plaintiff shall file a list of any witnesses he intends to call at the hearing, along with a
   short summary of each witness’s anticipated testimony, no later than 12:00 p.m. on
   Sunday, December 6, 2020. Defendants shall file a list of any witnesses they intend to
   call at the hearing, along with a short summary of each witness’s anticipated testimony,
   no later than 5:00 p.m. on Tuesday, December 8, 2020. The Court will not hear
   testimony from any witness that is not listed in a timely-filed witness list.

3. Defendants shall respond to plaintiff’s complaint, ECF No. 1, and plaintiff’s motion for
   preliminary injunction, ECF No. 6, no later than 5:00 p.m. on Tuesday, December 8,
   2020.

4. Plaintiff shall file any materials in reply no later than 12:00 p.m. on Wednesday
   December 9, 2020.

5. The Court will conduct a final pretrial conference in this matter on Wednesday,
   December 9, 2020, at 3:00 p.m. by telephone. To appear by telephone, you must call the
   Court conference line at 1-866-434-5269, and enter access code 1737450# before the
   scheduled hearing time. All participants other than lead counsel for each party are asked
   to keep their phones muted.

6. At plaintiff’s suggestion, and with defendants’ consent, the Court will conduct a final
   hearing on plaintiff’s complaint and motion on Thursday, December 10, 2020 at 9:00
   a.m. by Zoom videoconference.

   Dated at Milwaukee, Wisconsin on December 4, 2020.

                                                     s/ Brett H. Ludwig
                                                     BRETT H. LUDWIG
                                                     United States District Judge
